      Case 1:05-cr-01849-JCH            Document 701-1       Filed 10/16/06      Page 1 of 1



                       IN THE DISTRICT COURT OF THE UNITED STATES

                             FOR THE DISTRICT OF NEW MEXICO

UNITED STATES OF AMERICA,                             )
                                                      )
                        Plaintiff,                    )
                                                      )       CRIMINAL NO. 05-1849 JH
                 vs.                                  )
                                                      )
DANA JARVIS, et al.                                   )
                                                      )
                        Defendant.                    )

                ORDER FOR WRIT OF HABEAS CORPUS AD TESTIFICANDUM

       Upon the motion of the United States Attorney for a Writ of Habeas Corpus ad

Testificandum directed to the Metropolitan Detention Center, 415 Roma NW, Albuquerque, New

Mexico, it is

       ORDERED that the Clerk of this Court is hereby authorized to issue a Writ of Habeas

Corpus ad Testificandum directing the said Metropolitan Detention Center, 415 Roma NW,

Albuquerque, New Mexico, to surrender Jay Lambros to the United States Marshal and/or his

representative for the District of New Mexico in order that the said Jay Lambros may be taken to

Albuquerque, New Mexico, for a motion hearing, to testify as a witness in the above-captioned case

on October 26, 2006, at 1:30 p.m., and the said United States Marshal or his authorized

representative is hereby directed to return the said Jay Lambros to the custody of the aforementioned

Metropolitan Detention Center, 415 Roma NW, Albuquerque, New Mexico when his presence is

no longer required before said Court.



                                                           UNITED STATES DISTRICT JUDGE
